8:14-cr-00409-BCB-MDN        Doc # 186     Filed: 12/18/15    Page 1 of 1 - Page ID # 564




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,       )
                                )
                Plaintiff,      )
                                )                             8:14CR409
     vs.                        )
                                )                               ORDER
SHANE SEIZYS, EMMANUEL CHAPLAIN,)
DILANG DAT, THOMAS JONES-ROSS, )
                                )
                Defendants.     )

      This matter is before the court on the government’s Motion to Continue Trial [185].
The government’s material witness is unavailable due to a medical emergency. The
government is in the process of retesting the DNA and obtaining a new material witness.
Good cause being shown,

       IT IS ORDERED that the government’s motion to continue trial is granted, as follows:

       1. The jury trial now set for January 5, 2016 is continued to March 14, 2016.

       2. The time between today’s date and the commencement of trial is deemed
      excludable time in any computation of time under the requirement of the Speedy
      Trial Act for the reason that in continuing trial the ends of justice outweigh the
      best interest of the public and Defendant in a speedy trial and for the reasons set
      out in the government’s motion to continue trial, See 18 U.S.C. § 3161(7)(A).

      A party may object to the magistrate judge's order by filing an "Statement of
Objections to Magistrate Judge's Order" within 10 days after being served with the order.
The objecting party must comply with all requirements of NECrimR 59.2.

      DATED this 18th day of December, 2015.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
